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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________


No. 24-1113                                                    September Term, 2023
                                                                        DOJ-Pub. L. No. 118-50
                                                       Filed On: June 17, 2024 [2060072]
TikTok Inc. and ByteDance Ltd.,

                   Petitioners

         v.

Merrick B. Garland, in his official capacity
as Attorney General of the United States,

                   Respondent


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Consolidated with 24-1130

                                             ORDER

       It is ORDERED, on the court's own motion, that these cases be scheduled for
oral argument on September 16, 2024, at 9:30 A.M. The composition of the argument
panel will usually be revealed thirty days prior to the date of oral argument on the court's
web site at www.cadc.uscourts.gov.

         The time and date of oral argument will not change absent further order of the
Court.

         A separate order will be issued regarding the allocation of time for argument.

                                                             FOR THE COURT:
                                                             Mark J. Langer, Clerk

                                                      BY:    /s/
                                                             Michael C. McGrail
                                                             Deputy Clerk

The following forms and notices are available on the Court's website:

         Memorandum to Counsel Concerning Cases Set for Oral Argument (Form 71)
